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 1                                                          Chief Judge Ricardo S. Martinez
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 7                     UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF WASHINGTON
 8
                                   AT SEATTLE
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      UNITED STATES OF AMERICA,                        NO. CR19-0010RSM
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                            Plaintiff,
                                                       GOVERNMENT’S MOTION
12
                      v.                               REGARDING THE
13                                                     DISCOVERABILITY OF A
      HUAWEI DEVICE CO., LTD., and
                                                       PARTICULAR DOCUMENT
14    HUAWEI DEVICE USA, INC.,
15                                                     (Noted for May 10, 2019)
                           Defendants.
16
17
18         The United States of America, by and through, Annette L. Hayes, First Assistant

19 United States Attorney for the Western District of Washington (Acting Under Authority
20 Conferred by 28 U.S.C. § 515), and Todd Greenberg, Thomas Woods, and Siddharth
21 Velamoor, Assistant United States Attorneys for said District, hereby moves the Court for
22 an order clarifying that a particular document is not discoverable under the government’s
23 discovery obligations.
24                                       INTRODUCTION

25         As part of the pre-trial discovery process, the Huawei defendants have requested

26 that the government produce all correspondence between the government and T-Mobile,
27 the victim in this case. The government has produced all such correspondence except
28 one memorandum from the government to T-Mobile, which analyzed factual and legal
     GOVERNMENT’S MOTION RE: DISCOVERABILITY/                          UNITED STATES ATTORNEY
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 1 issues regarding the potential for the Court to award restitution to T-Mobile as part of the
 2 sentence in this case. This memorandum is not discoverable because it contains no facts
 3 that otherwise were not disclosed in discovery, and simply contains government
 4 counsel’s legal analysis as to the potential availability of restitution.
 5         After Huawei made its discovery request, the government informed counsel for
 6 Huawei by letter that it planned “seek[] clarification from the Court ex parte as to
 7 whether a particular document is discoverable, consistent with Ninth Circuit practice.”
 8 The government then moved ex parte, requesting that the Court clarify that the
 9 government’s memorandum was not discoverable.
10         The Court entered an Order denying the government’s motion without prejudice.
11 The Order indicated that the government could re-file the motion in a manner that would
12 provide Huawei with greater notice and an opportunity to respond. The Order also stated
13 that the government could provide supplemental justification for its position ex parte. In
14 light of the Court’s Order, the government is hereby filing this motion along with an ex
15 parte submission that discusses in more detail the contents of the memorandum, which
16 provides further justification as to why the memorandum is not discoverable.
17                                        BACKGROUND
18         In this case, the government alleges that Huawei Device Co., Ltd., and Huawei
19 Device USA, Inc. (collectively “Huawei”) engaged in a long-running scheme to steal
20 trade secrets from T-Mobile, and then obstructed justice by covering up the full scope of
21 the scheme, after one of Huawei’s employees was caught stealing a robotics part from T-
22 Mobile’s laboratory. Prior to the indictment being obtained, T-Mobile had sued Huawei
23 Device USA, Inc., and another Huawei entity, alleging a variety of state-law claims
24 stemming from the same theft scheme that forms the basis of the criminal case. See T-
25 Mobile USA Inc. v. Huawei Device USA Inc., CV14-1351RAJ.
26         In light of T-Mobile’s status as the victim of the crimes charged in the Indictment,
27 during its investigation the government conferred with T-Mobile about a variety of
28 issues, including the potential for restitution. See Crime Victims’ Rights Act, 18 U.S.C. §
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 1 3771.1 As part of this process, T-Mobile provided the government with a memorandum
 2 outlining its position regarding restitution.2 The government then wrote a responsive
 3 memorandum to T-Mobile, reviewing the applicable case law governing restitution,
 4 analyzing the facts in the civil trial record under this case law, and setting forth legal
 5 conclusions under this analysis. The government’s memorandum did not discuss any
 6 facts outside of the civil trial record.
 7                                                    ARGUMENT
 8       I.       THE COURT CAN REVIEW EX PARTE and IN CAMERA TO
                  CLARIFY WHETHER A PARTICULAR DOCUMENT IS
 9
                  DISCOVERABLE.
10            It is well established that a district court has the authority to review documents ex
11 parte and in camera to clarify whether a particular document is discoverable. As the
12 Ninth Circuit has stated, “If the prosecution is uncertain about the materiality of
13 information within its possession, it may submit the information to the trial court for an in
14 camera inspection and evaluation.” United States v. Cadet, 727 F.2d 1453, 1467–68
15 (9th Cir. 1984); see also Milke v. Ryan, 711 F.3d 998, 1016 (9th Cir. 2013); United States
16 v. Calise, 996 F.2d 1019, 1021 (9th Cir. 1993); United States v. Jones, 612 F.2d 453, 456
17 (9th Cir. 1979) (“In camera inspection and excision are procedurally sound methods for
18 rendering appropriate material available to the defense.”).
19            As noted above, the government does not believe that its memorandum is
20 discoverable. The government, however, takes its discovery obligations extremely
21 seriously. Thus, in an abundance of caution, the government is submitting the
22 memorandum to the district court for clarification as to whether it must be disclosed to
23 the defense.
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       Under the Crime Victims’ Rights Act, victims have the right to confer with the prosecutors, and to “full and timely
27   restitution as provided in law.” Id. § 3771(a)(5), (7).
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28     The government has produced this memorandum because Huawei could theoretically attempt to impeach T-Mobile
     witnesses on the ground that T-Mobile has an economic stake in the outcome of the case.
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 1      II.      THE GOVERNMENT’S MEMORANDUM IS NOT DISCOVERABLE.
 2            The government respectfully submits that its memorandum is not discoverable.
 3 The memorandum sets forth government counsel’s legal analysis of the applicable law as
 4 applied to the facts in the civil trial record. Because the government has already
 5 produced in discovery all of the underlying factual materials analyzed by the
 6 memorandum, it is not required under Brady or Rule 16 to also produce its legal analysis
 7 of those factual materials. Morris v. Ylst, 447 F.3d 735, 742 (9th Cir. 2006) (“The
 8 animating purpose of Brady is to preserve the fairness of criminal trials. However,
 9 fairness does not encompass an obligation on the prosecutor's part to reveal his or her
10 strategies, legal theories, or impressions of the evidence.” (internal citation omitted));
11 United States v. Furrow, 100 F. Supp. 2d 1170, 1178 (C.D. Cal. 2000) (“Brady may
12 entitle defendant to production of the mental health and psychiatric records [i.e. the
13 exculpatory evidence at issue in the case] . . . , however, Brady does not reach the
14 prosecution's analysis of them.); United States v. Pac. Gas & Elec. Co., 2016 WL
15 3185008, at *8 (N.D. Cal. June 8, 2016) (district court would review prosecutor’s legal
16 memoranda and order disclosure only if they contain “underlying exculpatory facts” that
17 must be disclosed under Brady,” noting distinction between exculpatory evidence and
18 analysis of such).
19            The memorandum is also not a Jencks Act statement of any witness. Nor is it
20 impeachment material because the memorandum does not discuss any witnesses who are
21 expected to testify in the case. In sum, the memorandum is not discoverable.
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 1                                       CONCLUSION
 2        For all of the reasons set forth above, the government moves the Court to enter an
 3 order clarifying that the government’s memorandum is not discoverable under the
 4 government’s discovery obligations.
 5 DATED this 26th day of April, 2019.
 6                                                 Respectfully submitted,
 7
                                                   ANNETTE L. HAYES
 8                                                 First Assistant United States Attorney
 9                                                 (Acting Under Authority Conferred by
                                                   28 U.S.C. § 515)
10
11
                                                   s/ Todd Greenberg
12                                                 TODD GREENBERG
13                                                 THOMAS WOODS
                                                   SIDDHARTH VELAMOOR
14                                                 Assistant United States Attorneys
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 1                               CERTIFICATE OF SERVICE
 2         I hereby certify that on April 26, 2019 I electronically filed the foregoing with the
 3 Clerk of the Court using the CM/ECF system which will send notification of such filing
 4 to the attorney(s) of record for the defendant(s).
 5
 6                                                      s/Jenny Fingles
                                                        JENNY FINGLES
 7
                                                        Legal Assistant
 8                                                      United States Attorney’s Office
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 9
                                                        Seattle, Washington 98101-1271
10                                                      Phone: 206-553-7970
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